                                                                 The Honorable Timothy W. Dore
 1                                                                                     Chapter 13
                                                                  Hearing Date: January 19, 2022
 2                                                                        Hearing Time: 9:30 AM
                                                               Hearing Location: Courtroom 8106
 3                                                    Response Due: January 18, 2022 at 10:00 AM
 4

 5

 6                         UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7   IN RE:
                                                             Case No. 19-13722 - TWD
 8   Jan Carol Little-Washington and Kevin Lynn
     Washington,                                             Chapter: 13
 9
                                 Debtors.                  NOTICE OF HEARING ON
10                                                         MOTION FOR COURT APPROVAL
                                                           OF REFINANCE TO PAY OFF
11                                                         CHAPTER 13 PLAN
12          PLEASE TAKE NOTICE that the hearing on Motion for Court Approval of Refinance
     to Pay Off Chapter 13 Plan to be held on January 19, 2022
13
        JUDGE:                The Honorable Timothy W. Dore
14      PLACE:                US Courthouse
                              700 Stewart Street,
15                            Courtroom 8106
                              Seattle, WA 98101
16      DATE:                 January 19, 2022
        TIME:                 9:30 AM
17      RESPONSE              January 18, 2022 at 10AM
        DATE:
18
            IF YOU OPPOSE the Motion, you must file your written response with the Court Clerk
19
     and deliver copies on the undersigned NOT LATER THAN THE RESPONSE DATE, which is
20   January 10, 2022 at 10AM. If you file a response, you are also required at the hearing.

21           IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
     GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and
22   strike the hearing. Objections not on file and served as set forth may be deemed waived.
23
              DATED this January 10, 2022
24
                                                 Henry & DeGraaff, P.S.
25                                               /s/ Christina L Henry
                                                 Christina L Henry WSBA 31273
26

27



      Case 19-13722-TWD         Doc 65      Filed 01/10/22     Ent. 01/10/22 17:27:53   Pg. 1 of 1
